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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                     OFFICE OF THE SPECIAL MASTERS
                                              No. 13-299V
                                      Filed: September 10, 2014
                                         (Not to be published)

*************************
JANET DEYEAR,                                               *
                                                            *        Stipulation; Hepatitis B;
                          Petitioner,                       *        Asthma; Chronic Sinus Disease
        v.                                                  *
                                                            *
SECRETARY OF HEALTH                                         *
AND HUMAN SERVICES,                                         *
                                                            *
                    Respondent.                             *
****************************
Margaret M. Guerra, Esq., Margaret M. Guerra, Attorney at Law, Fort Worth, TX for
petitioner.
Ann D. Martin, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                               DECISION ON JOINT STIPULATION1

Gowen, Special Master:

        Janet Deyear [petitioner] filed a petition for compensation under the National
Vaccine Injury Compensation Program2 on April 29, 2013. Petitioner alleges that the
Hepatitis B vaccinations she received on April 27, May 25, and October 12, 2010,
caused her severe asthma and chronic sinus disease. See Stipulation, filed September
9, 2014, at ¶¶ 2, 4. Further, petitioner alleges that she experienced residual effects of
her injury for more than six months. Id. at ¶ 4. Respondent denies that petitioner’s
Hepatitis B vaccinations caused severe asthma, chronic sinus disease, or any other
injury. Id. at ¶ 6.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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       Nevertheless, the parties have agreed to settle the case. On September 9, 2014,
the parties filed a joint stipulation agreeing to settle this case and describing the
settlement terms.

        Respondent agrees to pay petitioner:

            (a) A lump sum of $35,000.00 in the form of a check payable to
                petitioner, Janet Deyear. This amount represents compensation for
                all damages that would be available under § 300aa-15(a).

       The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is
directed to enter judgment in accordance with this decision.3


IT IS SO ORDERED.

                                                s/ Thomas L. Gowen
                                                Thomas L. Gowen
                                                Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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